Pacific Affiliate, Inc., a Corporation, Petitioner, v. Commissioner of Internal Revenue, RespondentPacific Affiliate, Inc. v. CommissionerDocket No. 12836United States Tax Court19 T.C. 245; 1952 U.S. Tax Ct. LEXIS 47; November 14, 1952, Promulgated *47 Decision will be entered under Rule 50, as heretofore ordered.  Held: The correct income and excess profits tax liability of petitioner for 1943 shall be taken into account as accrued liability as of December 31, 1943, and the correct post-war refund of excess profits taxes for 1943 shall be taken into account as an accrued receivable as of December 31, 1943.  Stern Brothers &amp; Co., 16 T.C. 295"&gt;16 T.C. 295, followed.  George H. Koster, Esq., for the petitioner.T. M. Mather, Esq., for the respondent.  Van Fossan, Judge.  VAN FOSSAN SUPPLEMENTAL OPINION.By motion filed October 17, 1952, petitioner moved for reconsideration of our decision in the above entitled proceeding promulgated September 30, 1952, to provide, inter alia, a definitive ruling with respect to a question arising therein, i. e., whether the respondent erred in reducing invested capital, as of the beginning of the year 1944, by the amount of income and excess profits tax deficiencies determined therein for the year 1943.The parties stipulated that in computing petitioner's invested capital for 1944 the correct income and excess profits tax liability for 1943 shall be taken into*48  account as an accrued liability as of December 31, 1943, and the correct postwar refund of excess profits taxes for 1943 shall be taken into account as an accrued receivable as of December 31, 1943 -- if, as a matter of law, each must be accrued as of that date.The question thus posed has heretofore been fully considered and ruled upon by us in , promulgated February 8, 1951, which date is some years subsequent to the filing date of the petition upon which this proceeding was based.  Petitioner admits that the above cited case is controlling but asks that the question be reconsidered.  The argument advanced by petitioner here appears to be precisely the same as was presented in Stern Brothers and there rejected by us.  Accordingly, on the authority of that case and the reasoning more fully set out therein, we here hold that both amounts in controversy are to be accrued as of December 31, 1943.Petitioner's motion for reconsideration is granted and the opinion of September 30, 1952, is amplified only as to the item above discussed.  In all other respects petitioner's motion for reconsideration is denied.Decision will*49  be entered under Rule 50, as heretofore ordered.  